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UNITED STATES DISTRICT COURT
                                                                                DATE FILED: 11/3/2020
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                                                            EX PARTE ORDER
                              -against-                                     19 Cr. 808 (VEC)
ALSENY KEITA,
                                                          Defendant.

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                 Upon the application of defendant ALSENY KEITA, through his counsel

Eric Franz, Esq., and upon all proceedings previously herein, it is apparent that defendant

ALSENY KEITA, is financially unable to pay the expense of retaining the services of an

Associate Counsel; it is hereby:

                 ORDERED that pursuant to 18 U.S.C. 3006(A) (the Criminal Justice Act),

that Christopher Wright, Esq., is appointed in the above captioned action as Associate

Counsel, pursuant to the Eastern and Southern District of New York’s Criminal Justice

Act Mentoring Programs, to assist in the representation of defendant ALSENY KEITA.

As such Christopher Wright, Esq. will be compensated in accordance with the Criminal

Justice Act at the rate of $65.00 per hour after providing 15 pro bono hours of service in

the case.

Dated:           New York, New York
                 _________________,
                  November 3        2020


                                            ____________________________________
                                            THE HONORABLE VALERIE E. CAPRONI
                                            United States District Judge
